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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


 CENTER FOR BIOLOGICAL DIVERSITY, ET
 AL.
                  Plaintiffs,
            v.
                                                           CASE NO. 1:21-cv-00119 (RDM)
 U.S. ENVIRONMENTAL PROTECTION
 AGENCY, ET AL.
                  Defendants.



                                ______________________________

                 FLORIDA INTERVENORS’ MOTION FOR LEAVE TO FILE
                           POST-HEARING MEMORANDUM
                            ______________________________

       The State of Florida and the Florida Department of Environmental Protection (“FDEP”)

(together, “Florida Intervenors”) respectfully move for leave to file the accompanying 6-page

memorandum following this Court’s October 19, 2023 hearing on pending cross-motions for

summary judgment. As set forth below, the post-hearing memorandum is limited to the status of

Florida’s Section 404 program, a hearing demonstrative, and a few specific issues that Florida

Intervenors were not able to address due to time limitations. This Court has wide discretion to accept

a supplemental brief where “helpful” to the Court or “where doing so promotes the fair and efficient

administration of justice.” Pao Tatneft v. Ukraine, No. CV 17-582 (CKK), 2020 WL 2476034, at *2

(D.D.C. May 13, 2020). Good cause supports this motion.

       This Court originally scheduled the summary judgment hearing (involving eleven pending

claims) to occur at 10 a.m. ET on October 13, 2023. In early October, after Plaintiffs obtained leave

to file a 20-page surreply brief, this Court rescheduled the hearing to 2 p.m. ET on October 19, 2023
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“in order to allow the Court time to review [Plaintiffs’] filing.” Minute Order (Oct. 6, 2023). At the

hearing, which lasted approximately 3 hours, counsel for Plaintiffs were afforded extensive

opportunity to address a wide range of issues involving program implementation and the status of

projects, standing/justiciability issues, and specific issues related to the Endangered Species Act,

Clean Water Act, Administrative Procedure Act, and other applicable laws and regulations. With the

end of normal business hours at the Court, Florida Intervenors were afforded approximately 15

minutes of argument time, which was utilized to address a few key rebuttal points. Under the

circumstances, the Court expressed a willingness to consider additional argument at a later time.

        Accordingly, based on good cause, Florida Intervenors respectfully seek leave to file a post-

hearing memorandum – of no more than 6 pages – addressing specific points of direct relevance to

the disposition of this case, including:

               The current status of Florida’s Section 404 Program;

               The demonstrative (as referenced at the hearing) concerning justiciability issues;

               The species review process under Florida’s 404 program and related issues;

               The Supreme Court’s recent decision in Sackett v. EPA; and

               Efforts by FDEP and the Corps of Engineers related to “Retained Waters.”

        Pursuant to LCvR 7(m), undersigned counsel certify that they conferred with opposing

counsel. Plaintiffs oppose the motion. Federal Defendants take no position on the relief requested.




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Dated: October 26, 2023                  Respectfully submitted,
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                               CERTIFICATE OF SERVICE

      I hereby certify that on this 26th day of October 2023, I electronically filed the foregoing

document using the CM/ECF system. Service was accomplished by the CM/ECF system.


                                                   Respectfully submitted,
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